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     LUP PARK LI
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 07-025-09 WBS
12
                               Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
13                                                       TO REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     LUP PARK LI,                                        RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable WILLIAM B. SHUBB

17             Defendant, LUP PARK LI, by and through his attorney, Assistant Federal Defender
18   Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
19   Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On February 17, 2012, this Court sentenced Mr. Li to term of 105 months

25   imprisonment;

26             3.         His total offense level was 31, his criminal history category was V, and the

27   applicable guideline range was 168 to 210 months. He received a reduction off the low-end of

28   the range and the mandatory minimum on government’s motion;

     Stipulation and Order Re: Sentence Reduction          1
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1              4.         The sentencing range applicable to Mr. Li was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Li’s total offense level has been reduced from 31 to 29, his amended
5    guideline range is 140 to 175 months, and a reduction comparable to the one received at the
6    initial sentencing would result in a sentence of 87 months, see App. N. 4, U.S.S.G. § 1B1.10);
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Li’s term of imprisonment to a total term of 87 months, a sentence the parties
9    conclude is fair and reasonable in light of the factors set forth in 18 U.S.C. § 3553(a), and the
10   value of the information provided by the defendant.
11   Respectfully submitted,
12   Dated: August 26, 2015                             Dated: August 26, 2015
13   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
14
15    /s/_Jason Hitt____                                /s/ Hannah R. Labaree
     JASON HITT                                         HANNAH R. LABAREE
16   Assistant U.S. Attorney                            Assistant Federal Defender
17   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           LUP PARK LI
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1                                                   ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Li is entitled to the benefit Amendment
5    782, which reduces the total offense level from 31 to 29, resulting in an amended guideline range
6    of 140 to 175 months. A reduction to a comparable to the one received at the initial sentencing
7    would produce a term of 87 months, see App. N. 4, U.S.S.G. § 1B1.10), a sentence the Court
8    concludes is fair and reasonable in light of the factors set forth in 18 U.S.C. § 3553(a), the
9    recommendation of the United States Attorney, and the value of the information provided by the
10   defendant.
11             IT IS HEREBY ORDERED that the term of imprisonment imposed in February 2012 is
12   reduced to a term of 87 months.
13             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
14   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
15   reduction in sentence, and shall serve certified copies of the amended judgment on the United
16   States Bureau of Prisons and the United States Probation Office.
17             Unless otherwise ordered, Mr. Li shall report to the United States Probation Office within
18   seventy-two hours after his release.
19   Dated: October 15, 2015
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     Stipulation and Order Re: Sentence Reduction       3
